






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-04-00583-CR






Timothy Keyes, Appellant



v.



The State of Texas, Appellee







FROM THE DISTRICT COURT OF TRAVIS COUNTY, 147TH JUDICIAL DISTRICT


NO. 3013447, HONORABLE WILFORD FLOWERS, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



Timothy Keyes seeks to appeal from a judgment of conviction for indecency with a
child by contact.  Sentence was imposed on August 27, 2003.  One year later, on August 27, 2004,
appellant filed a pro se motion for out-of-time appeal in the district court together with his pro se
notice of appeal.  The proper procedure for seeking an out-of-time appeal in a felony case is a post-conviction habeas corpus proceeding pursuant to article 11.07.  See Tex. Code Crim. Proc. Ann. art.
11.07 (West Supp. 2004-05); Ex parte Adams, 768 S.W.2d 281, 287 (Tex. Crim. App. 1989). 
Because the notice of appeal was untimely, we lack jurisdiction to dispose of the purported appeal
in any manner other than by dismissing it for want of jurisdiction.  See Tex. R. App. P. 26.2(a)(1);
Slaton v. State, 981 S.W.2d 208 (Tex. Crim. App. 1998); Olivo v. State, 918 S.W.2d 519, 522-23
(Tex. Crim. App. 1996). 


The appeal is dismissed.



				__________________________________________

				Bea Ann Smith, Justice

Before Chief Justice Law, Justices B. A. Smith and Pemberton

Dismissed for Want of Jurisdiction

Filed:   October 14, 2004

Do Not Publish


